               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
v.                                               )      Criminal No. 3:10-00215
                                                 )      Judge Trauger
                                                 )
[3] ADALID DINO SANCHEZ                          )

                                        ORDER

       It is hereby ORDERED that the sentencing scheduled for September 14, 2012 at 2:30

p.m. is RESET for the same day at 11:00 a.m.

       It is so ORDERED.

       ENTER this 5th day of September 2012.




                                                 ________________________________
                                                       ALETA A. TRAUGER
                                                         U.S. District Judge




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